Filed 8/27/24 Marriage of Simmons CA5




                  NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS
California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on opinions not certified for
publication or ordered published, except as specified by rule 8.1115(b). This opinion has not been certified for publication
or ordered published for purposes of rule 8.1115.


            IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA
                                     FIFTH APPELLATE DISTRICT

    In re the Marriage of FRANK RONALD
    SIMMONS II AND MARIA CARINA
    SIMMONS.

    FRANK RONALD SIMMONS II,                                                                 F087416

           Appellant,                                                        (Super. Ct. No. 23CEFL00918)

                    v.
                                                                                          OPINION
    MARIA CARINA SIMMONS,

           Respondent.



                                                   THE COURT*
         APPEAL from a judgment of the Superior Court of Fresno County. Pahoua Lor,
Judge.
         Frank R. Simmons, in pro. per., for Appellant.
         No appearance made by Respondent.
                                                        -ooOoo-




*        Before Franson, Acting P. J., Smith, J. and Snauffer, J.
       This matter concerns the dissolution of the marriage of Frank Ronald Simmons II
(petitioner/appellant) and Maria Carina Simmons (respondent). Both parties were self-
represented in the family court. Frank Simmons is self-represented on appeal as well;
Maria Simmons did not make an appearance on appeal.
       Frank Simmons challenges the family court’s ruling—after a court trial—on the
validity of a marital separation agreement signed by Frank Simmons and Maria
Simmons. The trial court ruled that “wife signed the marital separation agreement under
duress and it was not entered into voluntarily.” Accordingly, the family court declined to
enforce the marital separation agreement.
       We affirm the family court’s ruling that the marital separation agreement was
invalid.
                                     BACKGROUND
       The factual and procedural background of this matter is difficult to decipher as the
clerk’s transcript appears to be incomplete and there is no reporter’s transcript in the
record on appeal.
       Frank Simmons and Maria Simmons were married in 2006. They have a son
(born in 2006) and a daughter (born in 2014). According to the register of actions
included in the clerk’s transcript, Frank Simmons filed in the Fresno County Superior
Court, a “petition for dissolution with children” on March 1, 2023. (Some capitalization
omitted.) The record indicates that Maria Simmons thereafter filed, on April 24, 2023, a
request for order as to child custody/visitation, child support, and spousal support (RFO).
It appears Frank Simmons filed responsive declarations on May 17, 2023, July 14, 2023,
and November 1, 2023.
       The family court held hearings on the RFO on June 21, 2023, and July 19, 2023,
among other dates. After the July 19, 2023 hearing, the family court issued a minute
order that noted:



                                             2.
              “Court allows parties to address the court. Husband states the
       parties already have an upcoming mediation appointment and return from
       mediation court date. Today, he is here to address the contract that the
       parties have already and property control of the [marital] home.

               “The Request for Order for child custody/visitation/spousal support
       will trail to court date of 9/6/2023 to be heard. If the parties can reach an
       agreement at the 8/29/2023 mediation appointment, then they can let the
       mediator know that they have a full agreement and the mediator will
       contact one of the courtrooms to have a judge sign the parties[’] full
       agreement.

              “As to issue of property control, court allows father to address the
       court and he is residing in the home with the son.

               “Husband states there is a contract that is valid but the wife objects
       to that contract and states there are issues with it. Court indicates to the
       parties that the court can set a contested hearing if she is still objecting to
       that contract.

             “After hearing from the parties, the court will make the following
       temporary orders:

               “-Husband is given temporary exclusive use, possession and control
       of the [marital residence] with all encumbrances, taxes, liabilities, and costs
       associated with said residence and that issue will be addressed again at the
       next court date on 9/6/2023.

               “Court sets matter over for trial on the issue of:

               “-contract (if the separation agreement is a valid contract)

               “-Trial – 10/23/2023 at 1:30 p.m. Department 201 (estimated: 1/2
       day)”
       The record indicates the parties thereafter reached full agreement in mediation
through Family Court Services on the issues of child custody and visitation; on
September 6, 2023, the family court signed off on the parties’ agreement in a child
custody and visitation order.
       On October 23, 2023, the family court went over some preliminary matters with
the parties, in connection with the trial on the question of the validity of the marital



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separation agreement that the parties had previously signed. The trial on the issue took
place on November 16, 2023. Both Frank Simmons and Maria Simmons testified at trial.
The matter was continued to November 30, 2023. The court’s minute order for the
November 30, 2023 trial proceeding notes: “Court goes over the separation agreement
with the parties and over the items listed in the agreement to determine if the parties can
agree to anything without prejudice to their respective positions on the validity of the
agreement itself.” The minute order also notes: “Court summarizes the parties’
agreement on certain issues. After further discussion the parties cannot reach a global
agreement on all issues. Court allows parties to provide testimony, evidence and
argument as to the validity and enforce[ability] of the separation agreement.”
          The court’s minute order for the trial proceeding on November 30, 2023, further
states:

                   “After hearing from the parties, the court will make its ruling and
          order:

                   “--Exhibit ‘B’ – audio recording is relevant to this proceeding.

                  “--Court states that the parties were experiencing extreme marital
          issues at the time the separation agreement was signed. These marital
          issues included Husband taking Wife’s vehicle without her consent from
          school and only giving it back if she signed documents (not the separation
          agreement and undisputed by Husband).

                “--Court finds wife credible in her statements about her state of mind
          and Husband’s conduct at the time the separation agreement was signed.

                  “--Court also relies on Husband’s admission and statement that he
          suffers from anger related issues and he believed that Wife was having an
          affair at the time the separation agreement was signed.

                 “--Court finds that wife signed the marital separation agreement
          under duress and it was not entered into voluntarily.

                 “As to Husband’s request for bifurcation, the Court will deny the
          request without prejudice on today’s date, but continue the request to
          January 29, [2024] at 8:30 in department 201….


                                                 4.
             “Continued court hearing on January 29, [2024] at 8:30 in
       department 201.

              “In open court, the court returned the parties exhibits back to them
       and they signed out the exhibit form verifying that they did receive their
       exhibits back.”
       Meanwhile, on December 28, 2023, Frank Simmons commenced the instant
appeal.
                                       DISCUSSION
I.     Trial Court’s Ruling to Effect Marital Separation Agreement Was Invalid
       Frank Simmons challenges the family court’s finding that “wife signed the marital
separation agreement under duress and it was not entered into voluntarily.” Preliminarily
we note that Frank Simmons’s appeal appears to be premature as the family court had
continued the matter for a further hearing on various disputed issues related to the
dissolution petition and judgment had not yet been entered. In any event, we detect no
merit in Frank Simmons’s contentions.
       Frank Simmons does not cite proper authority to establish the appropriate standard
of review or the legal framework applicable to the question of duress in the context of
contract law. Frank Simmons simply argues that the family court’s factual finding that
Maria Simmons signed the marital separation agreement under duress is not supported by
substantial evidence. However, Frank Simmons’s sufficiency-of-the-evidence argument
is unavailing given there is no reporters’ transcript in the record on appeal; we cannot
evaluate his contentions in the absence of the reporter’s transcript of the trial. (See
County of Solano v. Vallejo Redevelopment Agency (1999) 75 Cal.App.4th 1262, 1274
[party challenging court’s factual findings must set forth all relevant evidence or
argument is forfeited]; Rubin v. Los Angeles Fed. Sav. &amp; Loan Assn. (1984) 159
Cal.App.3d 292, 296 [“ ‘The law is well settled that an appeal on the clerk’s transcript
and certain exhibits only is to be treated as an appeal on the judgment roll…. [¶] Since it
is impossible to determine from the clerk’s transcript what evidence the trial court heard


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and considered, this court must assume there was substantial evidence to support the
order.’ ”]; Estate of Fain (1999) 75 Cal.App.4th 973, 992 [“Where no reporters transcript
has been provided and no error is apparent on the face of the existing appellate record,
the judgment must be conclusively presumed correct as to all evidentiary matters. To put
it another way, it is presumed that the unreported trial testimony would demonstrate the
absence of error.”]; Cosenza v. Kramer (1984) 152 Cal.App.3d. 1100, 1102 [where
appeal arises from a partial clerk’s transcript, the evidence is conclusively presumed to
support the judgment].)
       Accordingly, we reject Frank Simmons’s contention that the trial court’s factual
findings underpinning its determination that the marital separation was invalid, are not
supported by substantial evidence. (See Nwosu v. Uba (2004) 122 Cal.App.4th 1229,
1246 [appellate briefs must provide a summary of the significant facts relevant to the
appeal and citations to the record]; Cal. Rules of Court, rule 8.204(a)(2)(C) [an
appellant’s opening brief must “[p]rovide a summary of the significant facts limited to
matters in the record”]; Opdyk v. California Horse Racing Bd. (1995) 34 Cal.App.4th
1826, 1830-1831, fn. 4 [appellant must present his case arranged in a manner so this court
can ascertain the facts and the rule of law applicable to each issue].)
II.    Related Evidentiary Claims
       As part of his argument that the trial court’s ruling on the validity of the marital
separation agreement was not supported by substantial evidence, Frank Simmons makes
several scattershot arguments regarding evidence admitted by the family court at the trial
on this issue. These issues are not properly briefed; the arguments are jumbled together
and are not supported by relevant legal authority. (In re S.C. (2006) 138 Cal.App.4th
396, 408 [“[I]t is appellant’s burden to affirmatively show error. [Citation.] To
demonstrate error, appellant must present meaningful legal analysis supported by
citations to authority and citations to facts in the record that support the claim of error.”];
Landa v. Steinberg (1932) 126 Cal.App. 324, 325 [litigants are required to “present their

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cause systematically and so arranged that those upon whom the duty devolves of
ascertaining the rule of law to apply may be advised, as they read, of the exact question
under consideration, instead of being compelled to extricate it from the mass”].)
Accordingly, Frank Simmons’s evidentiary arguments, related to his substantial evidence
challenge to the trial court’s ruling on the validity of the marital separation agreement,
are unavailing.
       We will address one of Frank Simmons’s evidentiary arguments in more detail.
As part of his sufficiency-of-the-evidence challenge to the family court’s finding that
Maria Simmons signed the marital separation agreement under duress, Frank Simmons
contends the family court erroneously admitted an audio recording of an argument
between Frank Simmons and Maria Simmons. The audio recording is not included in the
record on appeal, only a transcript of the recording appears in the record; a notation on
another document in the record suggests the audio recording was made by a person called
Araceli Murillo.
       Frank Simmons filed a motion in limine in which he contended the audio
recording was inadmissible under Penal Code section 632. The record indicates the
family court heard argument from the parties on the question of the admissibility of the
audio recording and ultimately admitted the audio recording. There is no reporters
transcript of the motion in limine hearing in the record, and the clerk’s transcript only
reflects a determination by the family court that the audio recording was “relevant to this
proceeding.” Frank Simmons challenges the family court’s ruling admitting the audio
recording.
       A trial court’s ruling on a motion in limine is generally reviewed for abuse of
discretion. (Malinowski v. Martin (Aug. 22, 2024, A167187) __ Cal.App.5th __ [p. 17].)
The Privacy Act bars the recording of a “confidential communication” without the
consent of all parties to the communication. (Pen. Code, § 632, subd. (a).) A
“ ‘confidential communication’ means any communication carried on in circumstances as

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may reasonably indicate that any party to the communication desires it to be confined to
the parties thereto, but excludes a communication made in a public gathering or in any
legislative, judicial, executive, or administrative proceeding open to the public, or in any
other circumstance in which the parties to the communication may reasonably expect that
the communication may be overheard or recorded.” (Id., subd. (c).) Evidence obtained
in violation of this statute is not admissible in any judicial, administrative, legislative, or
other proceeding. (Id., subd. (d).)
       The test of confidentiality is objective. (Malinowski v. Martin, supra,
__ Cal.App.5th __ [p. 18].) The confidentiality of a communication is determined in
accordance with the following test: “ ‘ “[U]nder [Penal Code] section 632
‘confidentiality’ appears to require nothing more than the existence of a reasonable
expectation by one of the parties that no one is ‘listening in’ or overhearing the
conversation.” ’ ” (Malinowski v. Martin, supra, __ Cal.App.5th __ [p. 18], italics
added.)
       Here, Frank Simmons has not established, with citations to the record, that the
communication at issue in the audio recording was a confidential communication for
purposes of Penal Code section 632, in that he reasonably expected that it would not be
overheard. The record on appeal is devoid of any facts or evidence regarding the
circumstances under which the argument at issue occurred (as noted, there is no reporters
transcript of the motion in limine hearing or of the trial on the question of the validity of
the marital separation agreement).
       Given the silent record, we imply any findings necessary to support the family
court’s order admitting the audio recording at issue (here, the court’s order encompasses
an implied finding that the recording at issue did not capture a confidential
communication as defined in Pen. Code, § 632, subd. (c)). (See Schnabel v. Superior
Court (1993) 5 Cal.4th 704, 718; Fladeboe v. American Isuzu Motors Inc. (2007) 150
Cal.App.4th 42, 58.) Indeed, “ ‘A judgment or order of the lower court is presumed

                                               8.
correct. All intendments and presumptions are indulged to support it on matters as to
which the record is silent, and error must be affirmatively shown. This is not only a
general principle of appellate practice but an ingredient of the constitutional doctrine of
reversible error.’ ” (Denham v. Superior Court (1970) 2 Cal.3d 557, 564.) In sum, Frank
Simmons’s assertion that the trial court erred in admitting the audio recording at issue,
fails.
         Moreover, even had we found the family court erred in admitting the audio
recording, it would not help Frank Simmons because his ultimate claim is that the family
court’s ruling that the marital separation agreement was invalid is not supported by
substantial evidence. As discussed above, that claim is forfeited because the record on
appeal does not contain the reporters transcript of the trial on that issue.
III.     Miscellaneous Contentions
         Finally, Frank Simmons argues: “The trial court erred by exercising excessive
discretion, or Abuse of Discretion, to rule in favor of the respondent, and was inequitable
in its application of legal statutes, local court rules, and while hearing evidence and
testimony, during the proceedings, and by making discriminatory presumptions about the
mental health and credibility of the petitioner, thereby also violating the CA Code of
Judicial Ethics.”1 Frank Simmons’s contentions are not clearly set forth and are not
supported by appropriate legal authority. These contentions, along with other
miscellaneous unsupported contentions, are unavailing. (Department of Alcoholic
Beverage Control v. Alcoholic Beverage Control Appeals Bd. (2002) 100 Cal.App.4th




         1 At oral argument, Frank Simmons stated that the family court was not
empathetic with respect to the fact he suffers from posttraumatic stress disorder on
account of his past military service. However, in the absence of a reporters transcript of
the proceedings, we cannot evaluate any comments made by the family court in this
context.


                                              9.
1066, 1078 [“Mere suggestions of error without supporting argument or authority other
than general abstract principles do not properly present grounds for appellate review.”].)
                                      DISPOSITION
       The family court’s ruling on the question of the validity of the parties’ marital
separation agreement is affirmed. Each side to bear his or her own costs on appeal.




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